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                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY

MOHAMED M. ELALEM
         Plaintiff(s),
                                                               NOTICE OF MOTION
vs.

CHICKASAW NATION INDUSTRIES, INC.,                   CIVIL ACTION NO.: 2:19-cv-04891-SRC-
CNI ADVANTAGE, INC., CHUGACH                                       CLW
GOVERNMENT SOLUTIONS, LLC (CGS),
CHUGACH INDUSTRIES, INC (CII) and John
Doe 1-10," and "XYZ Corporation 1-10" (The           AMENDED COMPLAINT WITH JURY
latter being fictitious and used to connote an                 DEMAND
unidentified person and/or entity responsible for
this occurrence.)
                 Defendant(s).




       The plaintiff, MOHAMED M. ELALEM, residing 144 High Street, Carteret, New Jersey,

complaining of the defendants, CNI ADVANTAGE, LLC, and/or CHICKSAW NATION

INDUSTRIES, AND/OR CHUGACH GOVERNMENT SOLUTIONS, LLC (CGS) AND/OR

CHUGACH INDUSTRIES, INC (CII) and/or “XYZ Corporation 1-10” (used to connote an

unidentified person and/or private entity and/or public agency responsible for this occurrence), and

“John Doe 1-10” (used to connote an unidentified public official, and/or private individual and/or

employee(s) responsible for this occurrence) by way of their attorney say:

                                            FIRST COUNT

       1.      On or about January 20, 2017, the plaintiff, MOHAMED M. ELALEM, was lawfully

at the premises located at the US Department of Defense at Picatinny Arsenal, New Jersey.
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       2.      On the above date, the plaintiff, MOHAMED M. ELALEM, was employed by the

United States Army Research, Development, & Engineering Command at the Picatinny Arsenal, NJ.

       3.      Upon information and belief at or about said time and place and at all times hereinafter

mentioned, the defendant(s), CNI ADVANTAGE, LLC, and/or CHICKSAW NATION

INDUSTRIES are located at 2600 John Saxon Blvd. Norman, OK 73071.

       4.      Upon information and belief at or about said time and place and at all times hereinafter

mentioned, the defendant, CHUGACH GOVERNMENT SOLUTIONS, LLC (CGS) AND

CHUGACH INDUSTRIES, INC (CII) is headquartered in 3800 Centerpoint Drive, Suite 1200,

Anchorage, AK, 99503, but has a local address at Picatinny Arsenal as well.

       5.      Upon information and belief at or about said time and place and at all times hereinafter

mentioned, the defendant(s), CNI ADVANTAGE, LLC, and/or CHICKSAW NATION

INDUSTIRES, and/or CHUGACH GOVERNMENT SOLUTIONS, LLC (CGS) AND/OR

CHUGACH INDUSTRIES, and/or “JOHN DOE 1-10” and/or “XYZ CORPORATION 1-10”

were individually and/or jointly the owners, operators, lessors and/or lessees of a premises located at

the US Department of Defense at Picatinny Arsenal, New Jersey.

       6.      Upon information and belief at or about said time and place and at all times hereinafter,

the defendant(s), CNI ADVANTAGE, LLC, and/or CHICKSAW NATION INDUSTIRES, and/or

CHUGACH GOVERNMENT SOLUTIONS, LLC (CGS) AND/OR CHUGACH INDUSTRIES,

INC (CII) and/or “JOHN DOE 1-10” and/or “XYZ CORPORATION 1-10” were performing

construction related activities on the aforementioned premises.

       7. Upon information and belief, at or about said time and place and at all times mentioned

hereinafter, CNI ADVANTAGE, LLC, and/or CHICKSAW NATION INDUSTIRES, and/or

CHUGACH GOVERNMENT SOLUTIONS, LLC (CGS) AND/OR CHUGACH INDUSTRIES,

and/or “JOHN DOE 1-10” (fictitious individuals used to connote an unidentified person responsible

for this occurrence) and/or “XYZ CORPORATION 1-10” (fictitious entities used to connote an
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unidentified entity responsible for this occurrence), were responsible for repair, maintenance, and/or

control of the aforesaid premises during construction, especially making sure exits to the building

under construction were safe and free of harm.

        8. At the aforementioned time and place, plaintiff, MOHAMED M. ELALEM was lawfully

exiting the building at the designated exit while the building was under construction, where he was

caused to slip and/or trip and fall, and be precipitated to the ground as a result of unsafe stairs at this

exit, causing the plaintiff, MOHAMED M. ELALEM, to fall and sustain injury.

        9. Upon information and belief, at or about said time and place and at all times mentioned

hereinafter, the plaintiff, MOHAMED M. ELALEM, while working in the building on the premises,

was caused to fall and be precipitated to the ground as a result of the negligence of the defendant(s),

and/or each of them, their servants, agents, and/or employees.

        10. Upon information and belief at or about said time and place and at all times hereinafter, the

defendant(s), CNI ADVANTAGE, LLC, and/or CHICKSAW NATION INDUSTIRES, and/or

CHUGACH GOVERNMENT SOLUTIONS, LLC (CGS) AND/OR CHUGACH INDUSTRIES,

and/or “JOHN DOE 1-10” and/or “XYZ CORPORATION 1-10” and/or each of them were

negligent in failing to provide safe conditions for invitees, guests, and workers, lawfully at that

aforementioned premises.

        9. As a result of the negligence of the defendant(s) and/or each of them as aforementioned,

separately, jointly, and severely, the plaintiff, MOHAMED M. ELALEM, was caused to sustain

serious and severe personal injuries, both physical and mental, which upon information and belief are

permanent in nature; that the injuries so incapacitated this plaintiff, in whole and in part, and upon

information and belief, the plaintiff will be unable to pursue his various duties, vocation and avocation,

with the same degree of proficiency as prior to the occurrence.

        WHEREFORE, the plaintiff, MOHAMED M. ELALEM, demands judgment against the

defendant(s) individually, jointly, severally and/or in the alternative in the amount of her damages, for
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such sum as will reasonably and properly compensate her in accordance with the laws of the State of

New Jersey together with interest and cost of suit.

                                                      SPECTOR FOERST & ASSOCIATES
                                                      Attorney for Plaintiff

                                                      _____________________________
                                                      NATALIE S. SHAFER, ESQ.



                                   DEMAND FOR TRIAL BY JURY

       Plaintiff hereby demands a trial by jury as to all issues.


                                                      SPECTOR FOERST & ASSOCIATES
                                                      Attorney for Plaintiff


                                                      _____________________________
                                                      NATALIE S. SHAFER, ESQ.



       The undersigned hereby certifies that the matter in controversy is not the subject of any other

action presently pending in any Court or of any pending arbitration proceedings.

       The undersigned further certifies that there are no other parties of which he is presently aware

that should be joined in this action.

                                                      SPECTOR FOERST & ASSOCIATES
                                                      Attorney for Plaintiff



                                                      NATALIE S. SHAFER, ESQ.
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                                      NOTICE OF TRIAL COUNSEL

       Please take notice that Natalie S. Shafer, Esq. is hereby designated as trial counsel in the above

captioned matter, pursuant to Rule 4:25 et seq.

                                                     SPECTOR FOERST & ASSOCIATES
                                                     Attorney for Plaintiff


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                                                     NATALIE S. SHAFER, ESQ.



       DATED: October 3, 2019
